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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA, STATE OF
ARKANSAS, STATE OF CALIFORNIA,
STATE OF FLORIDA, STATE OF GEORGIA,
STATE OF INDIANA, COMMONWEALTH
OF KENTUCKY, STATE OF LOUISIANA,      Case No. 1:20-cv-03010-APM
STATE OF MICHIGAN, STATE OF
MISSISSIPPI, STATE OF MISSOURI, STATE
OF MONTANA, STATE OF SOUTH            HON. AMIT P. MEHTA
CAROLINA, STATE OF TEXAS, AND
STATE OF WISCONSIN
                        Plaintiffs,

v.

GOOGLE LLC,

                       Defendant.

STATE OF COLORADO, STATE OF
NEBRASKA, STATE OF ARIZONA, STATE
OF IOWA, STATE OF NEW YORK, STATE
OF NORTH CAROLINA, STATE OF
TENNESSEE, STATE OF UTAH, STATE OF
ALASKA, STATE OF CONNECTICUT,
STATE OF DELAWARE, DISTRICT OF
COLUMBIA, TERRITORY OF GUAM,        Case No. 1:20-cv-03715-APM
STATE OF HAWAII, STATE OF ILLINOIS,
STATE OF KANSAS, STATE OF MAINE,    HON. AMIT P. MEHTA
STATE OF MARYLAND,
COMMONWEALTH OF MASSACHUSETTS,
STATE OF MINNESOTA, STATE OF
NEVADA, STATE OF NEW HAMPSHIRE,
STATE OF NEW JERSEY, STATE OF NEW
MEXICO, STATE OF NORTH DAKOTA,
STATE OF OHIO, STATE OF OKLAHOMA,
STATE OF OREGON, COMMONWEALTH
OF PENNSYLVANIA, COMMONWEALTH
OF PUERTO RICO, STATE OF RHODE
ISLAND, STATE OF SOUTH DAKOTA,
STATE OF VERMONT, COMMONWEALTH
OF VIRGINIA, STATE OF WASHINGTON,
     Case 1:20-cv-03010-APM Document 544-2 Filed 03/13/23 Page 2 of 88




STATE OF WEST VIRGINIA, AND STATE
OF WYOMING

                       Plaintiffs,
v.

GOOGLE LLC,
                       Defendant.




         PLAINTIFFS’ COUNTERSTATEMENT OF MATERIAL FACTS




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         Plaintiffs in both actions captioned above respectfully submit this Counterstatement of

Material Facts, under Local Rule 7(h) of the United States District Court for the District of

Columbia, in support of their opposition to the Motion for Summary Judgment filed by

Defendant Google LLC (“Defendant” or “Google”).



I.       OVERVIEW OF MARKETS

         A.     General Search Services Market

         400.1 General search services are offered by general search engines, which are “one-

stop shops” consumers can use to search the internet for answers to a wide range of queries. Pls.

Ex. 22, Whinston (DOJ Pls.’ Expert) Initial Report, ¶¶ 177, 197–216; Pls. Ex. 24, Whinston

(DOJ Pls.’ Expert) Rebuttal Report, ¶ 90.

         401.   General search services are a unique, relevant product market. Pls. Ex. 22,

Whinston (DOJ Pls.’ Expert) Initial Report, ¶¶ 127–242.

         402.   A relevant geographic market for general search services consists of general

search services provided to consumers in the United States. Pls. Ex. 22, Whinston (DOJ Pls.’

Expert) Initial Report, ¶¶ 247–264.

         403.   After a user enters a query on a general search engine, results appear on a search

engine results page (SERP). Pls. Ex. 133, Google Search website, How results are automatically

generated.




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     To avoid any overlap with the numbers in Defendants’ Statement of Undisputed Facts in
     Support of Its Motion for Summary Judgment (ECF No. 423), Plaintiffs begin their
     counterstatements at 400.

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        404.    Google and Bing are the only significant U.S. general search engines that crawl

and index the web, while other U.S. general search engines syndicate results. Pls. Ex. 22,

Whinston (DOJ Pls.’ Expert) Initial Report, ¶¶ 46–48.

        405.    The two leading U.S. general search engine companies today are Google and

Bing, with smaller players including Yahoo!, DuckDuckGo, Brave, Ecosia, and Neeva. Pls.

Ex. 22, Whinston (DOJ Pls.’ Expert) Initial Report, Fig. 63, ¶¶ 46–48; Pls. Ex. 23, Rangel (DOJ

Pls.’ Expert) Initial Report, ¶ 124.

        406.    Since 2010, Google has had an average annual market share of 80% or more in

the U.S. market for general search services. Pls. Ex. 22, Whinston (DOJ Pls.’ Expert) Initial

Report, Fig. 66.

        407.    In 2020, Google’s share of the U.S. general search services market was nearly

90%, with an even higher share of 94% on mobile devices. Pls. Ex. 22, Whinston (DOJ Pls.’

Expert) Initial Report, ¶ 433, Figs. 63, 66, 68.

        408.    Bing, Google’s closest competitor, has a U.S. general search services market

share of roughly 6%, and it has not exceeded a 10% market share since 2015. Pls. Ex. 22,

Whinston (DOJ Pls.’ Expert) Initial Report, Figs. 63, 66.

        409.    On U.S. mobile devices, Bing’s market share is even smaller at roughly 1% in

2021, and it has not exceeded a 2% share since 2016. Pls. Ex. 22, Whinston (DOJ Pls.’ Expert)

Initial Report, Fig. 68.

        B.      Search Advertising And General Search Text Advertising

        410.    Most general search engines do not charge consumers a fee. Pls. Ex. 22, Whinston

(DOJ Pls.’ Expert) Initial Report, ¶¶ 26, 82, 129, 527, 1380.




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       411.     When a consumer uses Google, the consumer provides Google data and attention

in exchange for search results. Pls. Ex. 22, Whinston (DOJ Pls.’ Expert) Initial Report, ¶¶ 125 &

n.154, 1223.

       412.     Google monetizes a consumer’s data and attention by selling ads served in

response to the consumer’s real-time query. Pls. Ex. 22, Whinston (DOJ Pls.’ Expert) Initial

Report, ¶ 82.

       413.     There is a search ads market that consists of advertising that is displayed on the

SERP that general or specialized search engines return in response to consumer real-time

queries. Pls. Ex. 22, Whinston (DOJ Pls.’ Expert) Initial Report, ¶¶ 27–29 & § III.D.2.

       414.     There is a general search text ads market that is a narrower market wholly

contained within the search ads market. Pls. Ex. 22, Whinston (DOJ Pls.’ Expert) Initial Report,

¶ 30 & § III.D.3; Pls. Ex. 134, Jerath (DOJ Pls.’ Expert) Initial Report, ¶¶ 113–123.

       415.     There is a relevant geographic market for search ads served in response to queries

from users located in the United States. Pls. Ex. 22, Whinston (DOJ Pls.’ Expert) Initial Report,

¶¶ 382–387.

       416.     There is a relevant geographic market for general search text ads served in

response to queries from users located in the United States. Pls. Ex. 22, Whinston (DOJ Pls.’

Expert) Initial Report, ¶ 417.

       417.     General search text ads appear on the SERP of a general search engine and look

much like the organic (non-advertising) search result links, i.e., they consist primarily of text and

contain little or no pictures or other graphics. Pls. Ex. 22, Whinston (DOJ Pls.’ Expert) Initial

Report, ¶¶ 30, 85.




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        418.    Google has a market share of roughly 74% in the U.S. search ads market and has

had a share over 70% since 2015. Pls. Ex. 22, Whinston (DOJ Pls.’ Expert) Initial Report, ¶ 468,

Fig. 79.

        419.    Google has a market share of roughly 88% in the U.S. general search text ads

market and has had a share of over 80% since at least 2016. Pls. Ex. 22, Whinston (DOJ Pls.’

Expert) Initial Report, ¶ 474, Fig. 81.

        420.    Bing, Google’s closest competitor, has held a market share of less than 9% in the

market for U.S. general search text ads since 2016. Pls. Ex. 22, Whinston (DOJ Pls.’ Expert)

Initial Report, Fig. 81.

        421.    Google earned approximately                  in revenue worldwide from the sale of

search ads in 2021. Pls. Ex. 135, Hammer (DOJ Pls.’ Expert) Initial Report, Fig. 7 &

Appendix D, Schedule A.2.

        422.    Google generated approximately                 in operating profits worldwide from

the sale of search ads in 2021. Pls. Ex. 135, Hammer (DOJ Pls.’ Expert) Initial Report, Fig. 16 &

Appendix D, Schedule A.2.

        C.      Scale In General Search Services

        423.    In the context of general search services, scale generally refers to the size of data

a search engine cumulatively has access to when users interact with the search engine. Pls.

Ex. 245,        (Microsoft) Dep., 49:10–52:16

                           Pls. Ex. 155, Giannandrea (Apple) Dep., 65:5–15 (stating that one way

to describe scale “would be the number of queries that you have access to”).

        424.    Google’s scale in the general search services market exceeds its rivals by many

multiples. Pls. Ex. 22, Whinston (DOJ Pls.’ Expert) Initial Report, § VII.B.1; Pls. Ex. 295, Oard

(DOJ Pls.’ Expert) Frieder Rebuttal Report, ¶ 105


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       425.   Since at least 2006, Google’s employees have recognized that its scale gives it a

significant competitive advantage.




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       426.    Search engines rely on continuous flows of user data to improve search quality

including ranking, search features, and the ability to experiment and innovate. Pls. Ex. 295, Oard

(DOJ Pls.’ Expert) Frieder Rebuttal Report, § II.C; Pls. Ex. 236, Google presentation: Google is

magical (*Oct. 2017), GOOG-DOJ-22859493, at -503 (“With every query, [Google gives] some

knowledge, and get[s] a little back. Then we give some more, and get a little more back. These

bits add up. After                             , [Google] start[s] lookin’ pretty smart!




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                                                     ; Pls. Ex. 241, Braddi (Google) CID Dep.,

77:21–78:23 (explaining how “volume of searches helps to refine and improve the search

quality”); Pls. Ex. 10,         (Microsoft) Dep., 30:15–31:4, 183:2–190:3; Pls. Ex. 245,

(Microsoft) Dep., 146:23–149:3; Pls. Ex. 156, Ramaswamy (Neeva) Dep., 118:5–120:7; Pls.

Ex. 165, Weinberg (DuckDuckGo) Dep., 120:5–129:5, 316:17–318:9, 328:17–329:4, 350:6–

351:21.

       427.    In general search, user data fuels a feedback loop that affects product quality and

competitiveness. Pls. Ex. 295, Oard (DOJ Pls.’ Expert) Frieder Rebuttal Report, § II.C; Pls.

Ex. 22, Whinston (DOJ Pls.’ Expert) Initial Report, § VII.B; Pls. Ex. 246,




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                                                            Pls. Ex. 10,          (Microsoft) Dep.,

298:4–299:24, 330:18–332:4, 333:9–334:19.

         428.   Google’s scale advantage is particularly significant on mobile. Pls. Ex. 249,

Booking.com document: Google, DOJ_BKNG-00001768, at 3 (“Google dominates the search

landscape, particularly on mobile with 95% market share. Google’s global market share across

all platforms as of August 2019 was 92%.”), at 5 (“Almost 1/3 of all mobile searches are related

to location.”); Pls. Ex. 22, Whinston (DOJ Pls.’ Expert) Initial Report, ¶ 441, Figs. 68, 176; Pls.

Ex. 9,          (Microsoft) Dep., 44:9–45:7

                Pls. Ex. 245,         (Microsoft) Dep., 234:12–235:8




                                ; Pls. Ex. 10,        (Microsoft) Dep., 345:11–346:12 (“




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                   398:11–399:15.

       429.    Mobile queries are substantively different than desktop queries.




                                                             ; Pls. Ex. 245,      (Microsoft)

Dep., 52:17–54:1



       430.    Mobile queries often have a location component.




                           ; Pls. Ex. 248, Varian (Google) Dep., 199:21–23 (“Q.ꞏLocal queries

are more prevalent on mobile devices than on desktops; is that right? A.ꞏYes.”); Pls. Ex. 245,

      (Microsoft) Dep., 232:17–234:4




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              Pls. Ex. 10,           (Microsoft) Dep., 323:12–326:14



       431.    Desktop user data is not a full substitute for mobile user data because user data

(including search intent and interaction patterns) are substantially different when the consumer is

searching on a mobile device than when the consumer is searching on a computer (i.e., a desktop

or laptop).




                                 ; Pls. Ex. 10,          (Microsoft) Dep., 323:12–326:14; Pls.

Ex. 245,        (Microsoft) Dep., 50:17–54:1; Pls. Ex. 295, Oard (DOJ Pls.’ Expert) Frieder

Rebuttal Report, ¶¶ 192–193.

       432.    Google’s scale advantage is particularly significant for answering tail queries. Pls.

Ex. 22, Whinston (DOJ Pls.’ Expert) Initial Report, ¶¶ 983, 987–988, 1004–1009.

       433.    Tail queries are queries that occur rarely on general search engines.




       ; Pls. Ex. 242, Lehman (Google) Dep., 240:21–241:12 (“A long-tail concept would be one

that in our query stream as a whole, regardless of how it’s processed, it’s -- it’s a concept that’s

not often mentioned.ꞏFor example, a popular celebrity would be a -- not a long-tail concept.ꞏIt




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would be sort of -- some people call it a ‘head concept.’ꞏOn the other hand, like an obscure

telegraph system from 1925, or something like that might be a long-tail concept.”).

        434.    Tail queries and mobile queries tend to overlap because, like tail queries, mobile

queries tend to seek uncommon, granular, location-based information. Pls. Ex. 10,

(Microsoft) Dep., 319:15–322:5




         322:18–323:11




Pls. Ex. 9,         (Microsoft) Dep., 234:17–235:22




        435.    Access to user feedback for tail queries has a substantial effect on improving the

search quality for tail queries. Pls. Ex. 10,         (Microsoft) Dep., 239:10–241:11




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              Pls. Ex. 295, Oard (DOJ Pls.’ Expert) Frieder Rebuttal Report, ¶¶ 32–33, 93–94.

       436.    The scale gap between Google and its competitors makes it difficult for the

competitor search engines to match Google’s search quality.




                                           ;




       437.    The scale gap between Google and its competitors makes it difficult for the

competitor search engines to compete for users (increase scale). Pls. Ex. 22, Whinston (DOJ Pls.’

Expert) Initial Report, ¶¶ 968–1136;




                  ; Pls. Ex. 9,        (Microsoft) Dep., 227:11–228:17

                                                                 ; Pls. Ex. 10,




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(Microsoft) Dep., 254:8–255:11

                                                                                     263:21–264:6

(same).

          437.1. “Because of diminishing returns to scale, Google benefits less from additional

queries, than its rivals.” Pls. Ex. 89, Whinston (DOJ Pls.’ Expert) Reply Report, ¶ 531;



          438.   Search engines with greater scale attract more advertisers.




                           ; Pls. Ex. 22, Whinston (DOJ Pls.’ Expert) Initial Report, § VII.B.3; Pls.

Ex. 256, Lowcock (IPG) Dep., 97:1–12 (“Q. So does the fact that Google has more users and

more queries make the platform more -- more attractive to advertisers? A. Yes. Q. And is one of

the reasons advertisers don’t purchase more text ads or search ads on Bing because it doesn’t

have as many queries or users? A. Yes. Q. So is scale an important factor that advertisers

consider when picking a search advertising platform? A. Yes.”); Pls. Ex. 7,

(Microsoft) Dep., 50:6–51:2




                                                              Pls. Ex. 245,       (Microsoft) Dep.,

49:15–50:10




                             Pls. Ex. 165, Weinberg (DuckDuckGo) Dep., 323:4–25 (“[T]he more




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volume we have in the marketplace, you think more advertisers will be attracted to the

marketplace in general and that will increase the RPM.”); Pls. Ex. 246,

                                                         APLGOOGDOJ-00000091, at -092




       438.1. Having more user-side data (i.e., more scale) allows search engine to better

monetize ads.




                             ; Pls. Ex. 258, Google presentation: Search Ads Boot Camp (Day 1)

(*Q4 2019), GOOG-DOJ-23855303, at -539 (stating “Search Ads [heart] Data”); Pls. Ex. 146,




                                Pls. Ex. 246,




                                                                      Pls. Ex. 22, Whinston (DOJ

Pls.’ Expert) Initial Report, ¶¶ 1070–1118, § VII.B.3.

       439.     Greater scale tends to increase advertising revenue. Pls. Ex. 146,




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       ; Pls. Ex. 22, Whinston (DOJ Pls.’ Expert) Initial Report, § VII.B.3; Pls. Ex. 245,

(Microsoft) Dep., 49:13–50:10



                                                                              ; Pls. Ex. 316, Gomes,

(Google) CID Dep., 77:6–24 (“[T]here was a belief that, as we improve the overall search

experience, there is hope people come back to Google overall better, more often. So if we target

overall growth, for instance, a search gets faster, if we are providing a better user experience,

then people come back to us more often. And that includes for things like commercial queries.”);

Pls. Ex. 10,          (Microsoft) Dep., 136:20–138:4




       439.1. Earning more from each query allows search engines to pay more for distribution

deals. Pls. Ex. 22, Whinston (DOJ Pls.’ Expert) Initial Report, ¶¶ 1071–1072, 1177.

       439.2. This allows search engines to secure distribution on browsers, desktop computers,

and mobile devices, which, in turn, serves to capture even more search queries for the feedback

loop. Pls. Ex. 22, Whinston (DOJ Pls.’ Expert) Initial Report, ¶¶ 1165–1166, 1177.




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       440.    With less revenue, rivals are predictably less able to invest in quality

improvements that benefit consumers and advertisers. Pls. Ex. 22, Whinston (DOJ Pls.’ Expert)

Initial Report, ¶¶ 1071–1072; Pls. Ex. 246,




II.    OVERVIEW OF SEARCH DEFAULTS AND PREINSTALLATION

       441.    The most common way users access general search engines is through

preinstalled search access points. Pls. Ex. 89, Whinston (DOJ Pls.’ Expert) Reply Report,

Fig. 100.

       442.    A search access point is a place on a device where a user can enter a search query.

Pls. Ex. 70, Kolotouros (Google) Dep., 96:09–13, 97:18–98:16.

       443.    In 2005, OEMs had little interest in distributing Google search without financial

incentives. Pls. Ex. 285, Google presentation: GPS – Mobile Topics (*June 16, 2005), GOOG-

DOJ-01731480, at 2–4.

       444.    In 2005, OEMs demanded revenue share to distribute Google search. Pls. Ex. 285,

Google presentation: GPS – Mobile Topics (*June 16, 2005), GOOG-DOJ-01731480, at 2–4.

       445.    Being the preset default search engine for a search access point on a preinstalled

and prominently placed app is the most efficient and effective way for a search engine to reach

users. Pls. Ex. 23, Rangel (DOJ Pls.’ Expert) Initial Report, ¶¶ 9–12, 37–39, 54–55, 59–62;




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                                               ; see also COMF ¶¶ 441–444, 446–470; Am.

Compl., ECF No. 94, Jan. 15, 2021, ¶ 47 (“Google admits that attaining a preinstalled search

access point, depending on the setting, can encourage utilization of a service”).

       446.    In the United States, device distributors (e.g., Apple, OEMs, carriers) decide what

apps—and therefore what search access points—to preinstall and where to place those apps on

their devices. Pls. Ex. 22, Whinston (DOJ Pls.’ Expert) Initial Report, ¶¶ 737, 810.

       447.    Before a device is sold to the consumer, a given preinstalled search access point

on the device can be assigned a preset default search engine to which it will send queries entered

by the consumer.




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       448.    When a user purchases an Apple iPhone, it comes with Apple’s Safari browser

preinstalled, which has Google as the preset default search engine for queries that users enter in

the URL address bar. Pls. Ex. 155, Giannandrea (Apple) Dep., 28:25–29:5, 106:19–22.

       449.    Most consumers stick with the preset default search engine that is assigned to

each respective search access point on their device (also known as the default out of the box).



                                            ; Pls. Ex. 10,         (Microsoft) Dep., 261:13–

262:17; Pls. Ex. 165, Weinberg (DuckDuckGo) Dep., 314:22–315:13; Pls. Ex. 156, Ramaswamy

(Neeva) Dep., 70:4–72:2, 94:9–24;




                                           ; Pls. Ex. 23, Rangel (DOJ Pls.’ Expert) Initial Report,

¶¶ 131–132; Pls. Ex. 87, Murphy (Def.’s Expert) Dep., 94:17–95:3 (explaining that “default

status generally will lead to some increase in usage”); see also COMF ¶¶ 441–448, 450–470.

       450.    Consumers rely on habit in searching the internet. Pls. Ex. 23, Rangel (DOJ Pls.’

Expert) Initial Report, ¶¶ 9, 54–66 (“Given that consumers carry out these searches using

familiar interfaces and devices, and that these searches provide immediate feedback, users’

search patterns become strongly habituated.”), 67–68; Pls. Ex. 22, Whinston (DOJ Pls.’ Expert)

Initial Report, ¶ 847.

       451.    Consumers often do not make (or even know that they can make) an explicit

choice about which general search engine to use for a given search access point.




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       452.    Even where search users might want to change the preset default search engine

for a given search access point, the effort and complexity involved with switching—referred to

as “choice friction” by Plaintiffs’ expert Professor Antonio Rangel, PhD—biases users to stick

with the default option. Pls. Ex. 23, Rangel (DOJ Pls.’ Expert) Initial Report, ¶¶ 37–39, 78–97,

131.

       453.    Google’s Chief Economist, Hal Varian, regularly reminded Google employees of

the “power of defaults.” Pls. Ex. 248, Varian (Google), Dep., 267:6–16; Pls. Ex. 219, Email from

Varian (Google), Re: Power of defaults (Mar. 27, 2007), GOOG-DOJ-05756465, at -465

(referring to Prof. Varian’s “‘power of defaults’ idea”).

       454.    Search defaults drive user traffic. Pls. Ex. 22, Whinston (DOJ Pls.’ Expert) Initial

Report, ¶¶ 846–965, § VII.A; Pls. Ex. 87, Murphy (Def.’s Expert) Dep., 94:17–95:3 (explaining

that “default status generally will lead to some increase in usage”).

       455.    Search defaults for search access points tend to be “stickier” on mobile devices

than on PCs.




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                                                                                     ; Pls. Ex. 24,

Whinston (DOJ Pls.’ Expert) Rebuttal Report, ¶ 465, Fig. 40.

        456.    Google routinely hires or contracts with behavioral economists to consider the

impact of defaults. Pls. Ex. 23, Rangel (DOJ Pls.’ Expert) Initial Report, ¶¶ 25, 57; Pls. Ex. 286,

                presentation: 2015 Round Up Full Deck (UNDATED),                 000001, at 1–3;

Pls. Ex. 287,               presentation: Work on Mobile Growth (UNDATED),

          002874, at 1–3; Pls. Ex. 288, Google document: Maya Shanker Top-Line

(UNDATED), GOOG-DOJ-27097514, at -514–515; Pls. Ex. 289, Google presentation: Google’s

Behavioral Science Team: 2018 Google Ads Results (Dec. 2018), GOOG-DOJ-27097279, at

-279.

        457.    [Intentionally Left Blank]

        458.    [Intentionally Left Blank]

        459.    [Intentionally Left Blank]

        460.




        461.    Users are unlikely to switch away from a device’s preset default search service.

Pls. Ex. 23, Rangel (DOJ Pls.’ Expert) Initial Report, ¶ 131; Pls. Ex. 10,          (Microsoft)

Dep., 261:13–262:17; Pls. Ex. 165, Weinberg (DuckDuckGo) Dep., 314:22–315:13; Pls.

Ex. 156, Ramaswamy (Neeva) Dep., 70:4–72:2, 94:9–24; see also Pls. Ex. 290, Miller (Google)

Dep., 76:24–77:24.




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        462.   Bing’s share of search queries is much higher on devices (such as Windows PCs

and Amazon Fire tablets) where it is the preset default search engine for search access points.

Pls. Ex. 22, Whinston (DOJ Pls.’ Expert) Initial Report, ¶¶ 850–852, Fig. 142.

        463.   In Russia, Google’s agreement with regulators to introduce a search engine choice

screen on Android devices caused Google’s share of Android searches to decline

     . Pls. Ex. 22, Whinston (DOJ Pls.’ Expert) Initial Report, ¶ 953, Fig. 168.

        464.   Paying to have Google as the preset default search engine for search access points

is the highest cost but highest value way to acquire users. Pls. Ex. 171, Google presentation: iOS

Distribution- BD Opportunities (*July 2017), GOOG-DOJ-04279956, at -960.

        465.   Organic downloads, paid marketing, and app promotion/integration do not match

the likelihood of success that being the preset default search engine has in getting consumers to

use Google’s search engine. Pls. Ex. 171, Google presentation: iOS Distribution- BD

Opportunities (*July 2017), GOOG-DOJ-04279956, at -960.

        466.   Google’s revenue share payments to device and browser distributors enable

Google to reach more users. Pls. Ex. 317, Porat (Google) Dep. 26:13–30:1.

        467.   Reaching more users is a key part of Google’s consideration for the revenue share

payment. Pls. Ex. 317, Porat (Google) Dep. 26:13–30:1.

        468.   If rivals won the defaults currently secured by the challenged terms of Google’s

Distribution Agreements,2          of Google’s U.S. general search market share would shift to

rivals. Pls. Ex. 89, Whinston (DOJ Pls.’ Expert) Reply Report, Fig. 105, App. D, at D-16.




2
    As used herein, “Distribution Agreements” comprises, individually and collectively, Google’s
    Information Services Agreement, as discussed in Section III.B.2 herein; Google’s Mobile
    Application Distribution Agreements, as discussed in Section III.D.3 herein; and Google’s
    Revenue Share Agreements, as discussed in Section III.D.4. and Section III.E.2 herein.


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       493.    In the United States, default searches on Chrome on Windows desktops and

Apple desktops and mobile devices account for         of all general search text ad revenue. Pls.

Ex. 89, Whinston (DOJ Pls.’ Expert) Reply Report, Fig. 103.

       B.      Google’s Distribution Agreements With Apple

               1.     Apple’s Search Share And The Safari Browser

       494.    In 2020,                      Google search queries in the United States were

performed on Apple devices. Pls. Ex. 22, Whinston (DOJ Pls.’ Expert) Initial Report, Fig. 134.

       495.    Roughly 60% of all mobile phones in the United States are iPhones. Pls. Ex. 22,

Whinston (DOJ Pls.’ Expert) Initial Report, Fig. 2.

       496.    Roughly 27% of all desktop computers in the United States are Macs. Pls. Ex. 22,

Whinston (DOJ Pls.’ Expert) Initial Report, Fig. 4.

       497.    Apple’s Safari browser is the only preinstalled browser on Apple devices. Pls.

Ex. 25, Cue (Apple) Dep., 126:3–14.

       498.    Apple has never preinstalled third-party browsers, third-party search apps, or any

other third-party apps on its devices. Pls. Ex. 25, Cue (Apple) Dep., 118:15–18 (“We don’t

install any third-party apps.ꞏNever have on iOS.”), 126:7–10, 128:10–15; Pls. Ex. 3, Apple

30(b)(6) (Cue) Dep., 90:21–24 (stating with respect to Apple preloading third-party apps: “There

are none. We would never do”), 92:15–22; Pls. Ex. 165, Weinberg (DuckDuckGo) Dep.,

218:25–219:12.

       499.    Apple has no plans ever to preinstall third-party browsers, third-party search apps,

or any other third-party apps on its devices. Pls. Ex. 25, Cue (Apple) Dep., 118:15–18, 126:7–10,

128:10–15; Pls. Ex. 3, Apple 30(b)(6) (Cue) Dep., 90:21–24, 92:15–22.




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        500.   In 2020,                     of Google’s total U.S. search query volume came

from searches performed using the Safari browser’s address bar. Pls. Ex. 89, Whinston (DOJ

Pls.’ Expert) Reply Report, Fig. 90.

               2.      Google As Search Default On The Safari Browser

        501.   The Information Services Agreement (ISA) between Google and Apple, as

amended,




        502.




        503.




        504.




8
    Siri is Apple’s voice assistant. Pls. Ex. 25, Cue (Apple) Dep., 44:9–13.
9
    Spotlight is Apple’s universal search service that is used primarily to search on-device
    content, but also gives consumers the option of searching the internet. Pls. Ex. 155,
    Giannandrea (Apple) Dep., 89:10–91:6, 96:19–98:7; Pls. Ex. 25, Cue (Apple) Dep., 58:7–
    58:18.


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       505.




       506.




       507.




       508.




       509.    Because Google is the preset search default on the Safari browser, a consumer

using Safari can perform a query on a rival search engine only by either (a) navigating to that

rival’s website, or (b) changing the default search engine in Safari’s settings. Pls. Ex. 24,

Whinston (DOJ Pls.’ Expert) Rebuttal Report, ¶ 412.




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       510.




              3.      Google’s Payments To Apple

       511.   Since 2005, Google has made payments to Apple to guarantee that it will be the

exclusive preset default search engine for the Safari browser on Apple devices.




       512.




                                               29
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       513.




       514.     In 2021, pursuant to the ISA, as amended, Google paid Apple approximately

             for searches in the United States. Pls. Ex. 313, Decl. of Schmalbach (DOJ) (Jan. 26,

2023), Appendix A, Table 2.

       515.



       Pls. Ex. 313, Decl. of Schmalbach (DOJ) (Jan. 26, 2023), Appendix A, Table 1.

       516.     In 2021, Google’s payments to Apple to be the preset default search engine for

the Safari address bar pursuant to the ISA, as amended, constituted                   of Apple’s

total operating income for the United States that year. Pls. Ex. 313, Decl. of Schmalbach (DOJ)

(Jan. 26, 2023), Appendix A, Table 1 (indicating                        in payments to Apple); Pls.

Ex. 318, Apple 2021 Form 10-K, at 29 (indicating $53.4 billion in operating income for the

Americas).

       517.     In 2020, Google’s payments to Apple pursuant to the ISA comprised

                                                                      Pls. Ex. 175,

                                                      , APLGOOGDOJ-01163132, at -144; Pls.

Ex. 22, Whinston (DOJ Pls.’ Expert) Initial Report, ¶ 718 & Fig. 122.

       518.     Defendant’s economic expert Prof. Murphy acknowledged that




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        519.   In 2021, the total global revenue for Microsoft’s “search and news advertising”

business, which includes Microsoft Bing, was approximately $9.3 billion. Pls. Ex. 176,

Microsoft 2022 10-K, at 95.

        520.



Pls. Ex. 9,         (Microsoft) Dep., 239:4–244:22.

        521.

                                                                  Pls. Ex. 9,       (Microsoft)

Dep., 239:4–244:22.

               4.      Consideration Of The Value Of The Safari Search Default During
                       Negotiations With Apple

        522.   During negotiations with Apple          , Google’s search finance team modeled

the value of Google being the search default for the Safari browser.




                                                31
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       523.    During negotiations with Apple           , when modeling the value of Google

being the search default for the Safari browser, Google’s search finance team predicted that

Google would recover (or “claw back”)                  of the revenue that it had previously earned

from queries conducted through the Safari search default if it lost this position, representing a

potential loss to Google of                                      in net revenue.




       524.    After conducting negotiations with Apple            , Google to agree to share

of its revenue with Apple to secure Safari’s search default.



       525.    Google is not currently aware of a better estimate for the impact of losing the

Safari browser search default than the one conducted during Google’s          negotiations with

Apple. Pls. Ex. 209, Google 30(b)(6) (Roszak) Dep., 93:15–94:17, 99:5–11.

       526.

                                                                                                Pls.

Ex. 175,                                                             APLGOOGDOJ-01163132,

at -174–179.

       527.



                                            Pls. Ex. 175,

                              APLGOOGDOJ-01163132, at -176.

       528.




                                                 32
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                                   Pls. Ex. 175,

                APLGOOGDOJ-01163132, at -177.

         529.




                                    see also Pls. Ex. 22, Whinston (DOJ Pls.’ Expert) Initial

Report, ¶¶ 894–898, Figs. 155–157.

         530.

                            Pls. Ex. 5,      (Microsoft) Dep. (Vol. I), 96:10–99:5, 133:12–

134:8; Pls. Ex. 6,       (Microsoft) Dep. (Vol. II), 88:21–92:8, 259:22–261:15; Pls. Ex. 7,

           (Microsoft) Dep., 59:25–61:7, 85:6–85:16, 111:5–115:9, 140:1–142:9, 162:3–163:24,

193:9–196:17, 246:3–247:4; Pls. Ex. 8,             (Microsoft) Dep., 128:15–132:21, 134:16–

136:6, 138:10–144:16, 159:15–160:1, 281:15–283:11, 311:02–323:23, 343:18–345:25; Pls.

Ex. 9,          (Microsoft) Dep., 10:12–11:13, 44:9–47:12, 50:7–59:8, 68:4–69:5, 88:5–90:15,

106:6–107:12, 114:17–115:1, 132:23–135:8, 137:11–141:11, 146:16–151:14, 233:14–235:22,

237:2–238:25 Pls. Ex. 10,            (Microsoft) Dep., 91:22–95:23, 102:2–105:23, 121:11–

129:6, 243:2–252:7.

         531.

                                                             Pls. Ex. 5,      (Microsoft) Dep.

(Vol. I), 96:10–99:5, 133:12–134:8; Pls. Ex. 6,         (Microsoft) Dep. (Vol. II), 83:13–92:8,




                                                   33
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259:22–261:15; Pls. Ex. 7,                 (Microsoft) Dep., 59:25–61:7, 111:5–115:9, 140:1–

142:9, 162:3–163:24, 193:9–196:17, 246:3–247:4; Pls. Ex. 8,              (Microsoft) Dep., 129:15–

132:21, 134:15–136:6, 138:10–144:16, 281:15–283:11, 311:1–323:23, 343:18–345:25; Pls.

Ex. 9,          (Microsoft) Dep., 10:11–11:13, 44:9–47:12, 50:7–59:8, 68:4–69:5, 88:5–90:15,

106:6–107:12, 114:17–115:1, 132:23–135:8, 137:11–141:11, 146:16–151:14, 233:10–235:22,

237:1–238:25 Pls. Ex. 10,             (Microsoft) Dep., 91:22–95:23, 102:2–105:23, 121:11–

129:6, 243:2–252:7.

         532.   If Google had lost the Safari search default to another general search engine in

2020, this would have led to a shift of                 of all U.S. search traffic, with Google

losing                of the U.S. queries that it had previously captured through the Safari search

default on Apple’s mobile devices, and losing                 of the U.S. queries that it had

previously captured through the Safari search default on Apple’s macOS devices (desktops and

laptops). Pls. Ex. 22, Whinston (DOJ Pls.’ Expert) Initial Report, ¶¶ 888–901 & Fig. 158; Pls.

Ex. 89, Whinston (DOJ Pls.’ Expert) Reply Report, App. D, at D-16, Fig. 104.

         533.   Prof. Murphy contends that Prof. Whinston’s estimate of the impact of the Safari

default is flawed. Pls. Ex. 139, Murphy (Def.’s Expert) Rebuttal Report, ¶¶ 154–158.

         534.   In his deposition, Prof. Murphy described Google’s ordinary-course projections

regarding the impact of defaults as representing “somebody’s estimate” that may be “seat-of-the-

pants ideas” or “a way of justifying what they felt they needed to do,” and stated that if Google

“relied upon” these projections in negotiating its distribution agreements, this would not change

his willingness to accept them if he believes they were “mistaken.” Pls. Ex. 87, Murphy (Def.’s

Expert) Dep., 366:3–368:6.




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       535.      When Google has considered how Apple thinks about the Safari default to inform

Google’s negotiation strategy, Google has analyzed the financial implications to Apple.

Ex. 178, Google presentation: NYC [Apple] Overview, Risks, and Opportunities (Oct. 2017),

GOOG-DOJ-09093108, at -114–115.

       536.      Prof. Murphy claims that “Apple in essence acts as a collective bargaining agent

for consumers” when negotiating with Google. Pls. Ex. 67, Murphy (Def.’s Expert) Initial

Report, ¶ 238.

       537.

                                                                                                Pls.

Ex. 25, Cue (Apple) Dep., 217:9–220:2.

       538.

                                                               Pls. Ex. 25, Cue (Apple) Dep.,

217:2–220:2.

       539.

                                                                             Pls. Ex. 3, Apple

30(b)(6) (Cue) Dep., at 26:8–28:3.

       540.




       541.




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542.




543.




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       553.    When a dominant search supplier wins an exclusionary contract with a search

distributor, its market power is strengthened, and it may gain or protect monopoly profits. Pls.

Ex. 24, Whinston (DOJ Pls.’ Expert) Rebuttal Report, ¶ 296.

       554.    If a dominant search supplier’s rival wins an exclusionary contract and gains

strength as a competitor, the most it can hope for is competitive profits. Pls. Ex. 24, Whinston

(DOJ Pls.’ Expert) Rebuttal Report, ¶ 296.

       555.    As a result of the asymmetry between the outcome if a dominant search supplier

wins or if rivals win an exclusionary contract, even if the dominant supplier and the rival are

equally efficient, profits are greater when the dominant supplier wins than when a rival wins, and

therefore the dominant supplier can offer the distributor more than rivals for the exclusionary

contract. Pls. Ex. 24, Whinston (DOJ Pls.’ Expert) Rebuttal Report, ¶ 296.

       556.    A “public good” is a commodity or service that is made available to all members

of a society. Pls. Ex. 24, Whinston (DOJ Pls.’ Expert) Rebuttal Report, ¶ 291 n.400.

       557.    Preservation of competition in general search is a public good. Pls. Ex. 24,

Whinston (DOJ Pls.’ Expert) Rebuttal Report, ¶ 291.

       558.    Consumers experience the benefits of competition in the form of lower prices and

increased quality. Pls. Ex. 24, Whinston (DOJ Pls.’ Expert) Rebuttal Report, ¶ 291 & n.400.

       559.    A search distributor’s decision to enter into an exclusionary contract affects the

competitive process as a whole, meaning the interests of all consumers are at stake. Pls. Ex. 24,

Whinston (DOJ Pls.’ Expert) Rebuttal Report, ¶¶ 291–293.

       560.    Even if a distributor were viewed as a “collective bargaining agent” for its own

customers, the distributor would not factor in the interests of all consumers when entering into an

exclusionary contract. Pls. Ex. 24, Whinston (DOJ Pls.’ Expert) Rebuttal Report, ¶¶ 291–293.




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       561.    No party fully factors in the harm that consumers as a whole stand to incur as a

result of a reduction in general search competition. Pls. Ex. 24, Whinston (DOJ Pls.’ Expert)

Rebuttal Report, ¶¶ 291–293.

       562.    Because no party fully factors in the harm that consumers as a whole stand to

incur as a result of a reduction in general search competition, each party is individually more

willing to sign an exclusionary contract with Google than would otherwise be the case. Pls.

Ex. 24, Whinston (DOJ Pls.’ Expert) Rebuttal Report, ¶¶ 291–293.

       563.    Prof. Murphy has written that “competition by a dominant supplier for exclusivity

sometimes may result in harm to consumers.” Pls. Ex. 24, Whinston (DOJ Pls.’ Expert) Rebuttal

Report, ¶ 297 (quoting Klein, Benjamin & Kevin Murphy, “How Exclusivity Is Used To

Intensify Competition For Distribution -- Reply To Zenger,” Antitrust Law Journal 77, no. 2

(2011): 691–699).

       564.    In his deposition, Prof. Murphy testified that the presence of multiple bidders for

a contract is not sufficient to demonstrate that conduct should be deemed permissible

competition on the merits. Pls. Ex. 24, Whinston (DOJ Pls.’ Expert) Rebuttal Report, ¶¶ 296–

297; Pls. Ex. 87, Murphy (Def.’s Expert) Dep., 414:20–415:14 (“Q. If there are multiple bidders

for a contract and one wins, will that always represent competition on the merits? A. No. I think

you have to look at other things, and I looked at other things here.”).

       564.1. In his Rebuttal Report, Prof. Whinston quoted Prof. Murphy, who had stated,

“Plaintiffs appear to equate foreclosure with the ‘coverage’ of Google’s arrangements. But the

queries that those arrangements ‘cover’ is not an economically sensible measure of foreclosure.”

Pls. Ex. 24, Whinston (Pls.’ Expert) Rebuttal Report, ¶ 322 (quoting Pls. Ex. 67, Murphy (Def.’s

Expert) Initial Report, ¶ 57). Prof. Whinston stated that he agreed with the quotation only “[t]o




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the extent that” Prof. Murphy was arguing that absent Google’s contracts, rivals would not have

won “all of the search traffic that the contracts cover.” Id.

         564.2. Prof. Murphy’s reports contain no citation for his assertion that “the extent of

potential foreclosure should be limited to the share of sales for which (1) rivals are

anticompetitively denied the ability to compete in the actual world and (2) would be able to

compete successfully in the but-for world.” Pls. Ex. 67, Murphy (Def.’s Expert) Initial Report,

¶ 732.

         564.3. When asked in his deposition to provide a source to support his assertion that “the

extent of potential foreclosure should be limited to the share of sales for which (1) rivals are

anticompetitively denied the ability to compete in the actual world and (2) would be able to

compete successfully in the but-for world,” Prof. Murphy “[could not] think of a specific cite for

it.” Pls. Ex. 87, Murphy (Def.’s Expert) Dep., 393:5–394:6 (discussing Pls. Ex. 67, Murphy

(Def.’s Expert) Initial Report, ¶ 732).

         D.     Google’s Android Distribution Agreements

         565.   In 2020,                           of all Google search queries in the United States

were performed on Android devices. Pls. Ex. 22, Whinston (DOJ Pls.’ Expert) Initial Report,

¶ 829, Fig. 134.

         566.   In the United States, the vast majority of Android devices are sold to consumers

by carriers. Pls. Ex. 121, Google presentation: Android Agreements Explainer - ACC, MADA,

RSA, DCB (Feb. 2, 2018), GOOG-DOJ-28380959, at -968, -977.

         567.   In the United States, carriers purchase Android devices from OEMs. Pls. Ex. 121,

Google presentation: Android Agreements Explainer - ACC, MADA, RSA, DCB (Feb. 2, 2018),

GOOG-DOJ-28380959, at -968, -977.




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       568.   For more than a decade, Google has used Mobile Application Distribution

Agreements (MADAs), along with Revenue Share Agreements (RSAs), to distribute the Google

search engine on Android devices in the United States.




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         569.   The MADAs and RSAs are a “belt and suspenders” approach to distributing

Google Search on Android devices.




                1.     Android Operating System And Devices

         570.   Android is a mobile operating system that Google acquired in 2005. Pls. Ex. 22,

Whinston (DOJ Pls.’ Expert) Initial Report, ¶ 725.

         571.   In 2008, Google released the Android operating system code for free, creating the

Android Open Source Project (AOSP). Pls. Ex. 22, Whinston (DOJ Pls.’ Expert) Initial Report,

¶ 725.

         572.   Any manufacturer can use AOSP for its mobile devices. Pls. Ex. 121, Google

presentation: Android Agreements Explainer - ACC, MADA, RSA, DCB (Feb. 2, 2018),

GOOG-DOJ-28380959, at -963.

         573.   Since releasing AOSP, over time Google has placed newly developed features

exclusively within its proprietary apps and services (collectively, referred to as Google Mobile

Services (GMS)), and has not made those features available through AOSP. Pls. Ex. 121, Google




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presentation: Android Agreements Explainer - ACC, MADA, RSA, DCB (Feb. 2, 2018),

GOOG-DOJ-28380959, at -966.

         574.    Within GMS, Google Play Services (GPS) helps support the functionality of all

Android apps, e.g., enabling cloud messaging and location manager functionalities. Pls. Ex. 64,

Google presentation: Android Review (*Nov. 5, 2019), GOOG-DOJ-06465054, at -066; Pls.

Ex. 99, Jung (Google) Dep., 62:25–63:20.

         575.    GPS is used by hundreds of thousands of third-party apps. Pls. Ex. 64, Google

presentation: Android Review (*Nov. 5, 2019), GOOG-DOJ-06465054, at -066; Pls. Ex. 99,

Jung (Google) Dep., 62:25–63:20.

         576.    Google’s proprietary version of the Android operating system (Android), which

includes GMS, is the only licensable mobile operating system in common use in the United

States. Pls. Ex. 22, Whinston (DOJ Pls.’ Expert) Initial Report, ¶ 54, Figs. 2–3 (StatCounter

Global Stats).

         577.    The only viable Android app store in the United States is Google’s Play Store,

which OEMs and carriers deem necessary for producing a sellable mobile device. Pls. Ex. 77,



                                               Pls. Ex. 61, Christensen (Motorola) Dep., 157:11–

158:2.

         578.    Unlike Android, AOSP does not have an app store. Pls. Ex. 56, Davies (DOJ Pls.’

Expert) Initial Report, ¶ 57; Pls. Ex. 121, Google presentation: Android Agreements Explainer -

ACC, MADA, RSA, DCB (Feb. 2, 2018), GOOG-DOJ-28380959, at -966.

         579.    Unlike Android, AOSP does not have the GPS application programming

interfaces that many third-party Android apps require. Pls. Ex. 64, Google presentation: Android




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Review (*Nov. 5, 2019), GOOG-DOJ-06465054, at -066–067; Pls. Ex. 99, Jung (Google) Dep.,

62:25–63:20.

        580.    Other than Apple devices, phones and tablets with the Android operating system

make up nearly the entire remaing mobile device marketplace in the United States. Pls. Ex. 22,

Whinston (DOJ Pls.’ Expert) Initial Report, ¶ 54, Figs. 2–3 (StatCounter Global Stats).

                2.        Google’s Chrome Browser

        581.    In the United States, Google’s Chrome browser accounts for roughly 50% of

browser usage and 60% of desktop browser usage. Pls. Ex. 22, Whinston (DOJ Pls.’ Expert)

Initial Report, Fig. 6.

        582.




                3.        Google’s Mobile Application Distribution Agreements (MADA)

        583.    Virtually all Android devices sold in the United States have GMS preinstalled and

are built under the MADA. Pls. Ex. 158, Email from Braddi (Google), Re: assistant (Aug. 7,

2018), GOOG-DOJ-06446636, at -636; Pls. Ex. 22, Whinston (DOJ Pls.’ Expert) Initial Report,

¶ 727; Pls. Ex. 70, Kolotouros (Google) Dep., 31:7–10.

        584.    Under the MADA, if an OEM preinstalls any Google app on an Android device,

the OEM must: (1) put on the device’s home screen (a) Google’s search widget (a search bar or

box), (b) the Play Store, and (c) an icon labeled “Google” that provides direct access to

preinstalled Google apps; and (2) preinstall 11 Google apps, including the Google Search App

(GSA) and Google’s Chrome browser. See, e.g.,



                                                                                 Pls. Ex. 160,


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Def.’s Resp. to Pls.’ Second Set of Contention Interrogatories (Apr. 27, 2022), at 20–21

(response to Contention Interrogatory No. 19).

         585.




         586.   The search widget is the single most important search access point on an Android

device. Pls. Ex. 22, Whinston (DOJ Pls.’ Expert) Initial Report, ¶ 741.

         587.   The default search engine on the Google search widget cannot be changed from

Google. Pls. Ex. 209, Google 30(b)(6) (Roszak) Dep., 58:22–59:20.

         588.   The home screen is the most prominent and valuable real estate on an Android

phone.                                                Pls. Ex. 61, Christensen (Motorola) Dep.,

98:1–10; Pls. Ex. 211,                                       Pls. Ex. 22, Whinston (DOJ Pls.’

Expert) Initial Report, ¶ 754.

         589.   Under the MADA, the Google search widget to occupy an entire row (three-to-

five slots) on the home screen. Pls. Ex. 22, Whinston (DOJ Pls.’ Expert) Initial Report, ¶ 754.

         590.




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           Pls. Ex. 61, Christensen (Motorola) Dep., 98:1–10, 202:8–203:2; 204:8–205:2; Pls.

Ex. 211,



       591.     In the past three years, no manufacturer has sold an Android phone into the

United States, preinstalled with Google’s search widget and an additional search widget for a

different general search engine. Pls. Ex. 70, Kolotouros (Google) Dep., 95:8–96:7, 96:14–21;

Pls. Ex. 75, Google presentation: Android Agreements, Summary of Current MADA + RSA

(May 10, 2018), GOOG-DOJ-04257815, at -819;

              Pls. Ex. 61, Christensen (Motorola) Dep., 204:17–205:2, 205:18–25; Pls. Ex. 211,



       592.     In the United States, Android devices have only one search widget preinstalled.

Pls. Ex. 75, Google presentation: Android Agreements, Summary of Current MADA + RSA

(May 10, 2018), GOOG-DOJ-04257815, at -819;

        Pls. Ex. 70, Kolotouros (Google) Dep., 96:17–21; Pls. Ex. 67, Murphy (Def.’s Expert)

Initial Report, ¶ 757 (“Plaintiffs focus on the fact that OEMs may be unlikely to place multiple

search widgets on a device.”).

       593.     The Chrome browser is the second most important search access point on an

Android device and defaults to Google out of the box. Pls. Ex. 22, Whinston (DOJ Pls.’ Expert)

Initial Report, ¶¶ 739–742.

       594.     Google is the preset default search engine on Chrome when OEMs preinstall the

browser on Android devices. Pls. Ex. 70, Kolotouros (Google) Dep., 89:1–5.

       595.     Although still disfavored, secondary browsers on Android devices are not

unprecedented—Samsung Android devices, for example, come with both Chrome and S-




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Browser, Samsung’s proprietary browser. Pls. Ex. 72, Google presentation: Healthy Android

(Oct. 2017), GOOG-DOJ-03505506, at -518;



       596.    Samsung is a leading manufacturer of Android devices sold in the United States.

Pls. Ex. 22, Whinston (DOJ Pls.’ Expert) Initial Report, ¶ 79, Fig. 8.

       597.    Samsung has a MADA.




       598.    Motorola is a leading manufacturer of Android devices sold in the United States.

Pls. Ex. 22, Whinston (DOJ Pls.’ Expert) Initial Report, ¶ 79 Fig. 8.

       599.    Motorola has a MADA.



       600.    LG, which used to be a leading Android OEM, also had a MADA, but LG exited

the smartphone business in 2020.

          ; Pls. Ex. 70, Kolotouros (Google) Dep., 144:5–12; Pls. Ex. 22, Whinston (DOJ Pls.’

Expert) Initial Report, ¶ 79 Fig. 8; Pls. Ex. 159, Google presentation: Android Staples (Aug.

2021), GOOG-DOJ-30356083, at -092.

       601.    Having two browsers (Chrome and S-Browser) already preinstalled on its

Android devices deters Samsung from preinstalling a third-party browser,



                                                                                         Pls.

Ex. 125, Google document: Notes from Samsung MADA discussion on 7/13, 2016 (July 13,

2016), GOOG-DOJ-32294385, at -386–387;




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                                                    ;




               4.     Google’s Revenue Share Agreements (RSA)

       602.    Under its RSAs with carriers and OEMs, Google makes monthly payments to the

counterparty in exchange for Google being (1) the exclusive general search engine preinstalled

on Android devices covered by the RSA, as well as (2) the search default for all search access

points on such devices. Pls. Ex. 55, Pichai (Google) Dep., 199:8–11; Pls. Ex. 212, Barton

(Google) Dep., 136:3–19; Pls. Ex. 22, Whinston (DOJ Pls.’ Expert) Initial Report, ¶¶ 761–762,

786.

       603.




       604.




       605.




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       606.      Google’s RSAs with carriers cover Android devices that the carriers purchase

from OEMs and sell to consumers. Pls. Ex. 121, Google presentation: Android Agreements

Explainer - ACC, MADA, RSA, DCB (Feb. 2, 2018), GOOG-DOJ-28380959, at -968; Pls.

Ex. 22, Whinston (DOJ Pls.’ Expert) Initial Report, ¶ 767.

       607.      Google’s RSAs with OEMs cover Android devices that OEMs sell directly to

U.S. consumers. Pls. Ex. 213,

                                                 Pls. Ex. 22, Whinston (DOJ Pls.’ Expert) Initial

Report, ¶ 767.

       608.




       609.      Some RSAs have allowed the counterparty to earn Google revenue share on a

device-by-device basis.



       610.




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       611.




                    Pls. Ex. 22, Whinston (DOJ Pls.’ Expert) Initial Report, ¶¶ 77, 79–81, 786;




               5.        Google’s Payments To Android Partners Under RSAs

       612.    In 2020, pursuant to its RSAs, Google paid                 to carriers for Google to

be the exclusive preset default search engine on Android devices. Pls. Ex. 22, Whinston (DOJ

Pls.’ Expert) Initial Report, ¶ 718, Fig. 122.

       613.    In 2020, pursuant to its RSAs, Google paid                       to OEMs for

Google to be the exclusive preset default search engine on Android devices. Pls. Ex. 22,

Whinston (DOJ Pls.’ Expert) Initial Report, ¶ 718, Fig. 122.


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               6.      Consideration Of The Value Of The Search Default On Android
                       Devices

       614.    Google recognizes the “power of the defaults” to drive search traffic to a

particular search engine. Pls. Ex. 219, Email from Varian (Google), Re: Power of defaults

(Mar. 27, 2007), GOOG-DOJ-05756465, at -465.

       615.    [Intentionally Left Blank]

       616.




       617.    A search engine having preset default status leads to increased usage of that

search engine. Pls. Ex. 87, Murphy (Def.’s Expert) Dep., 94:21–95:3 (“I think, in general, what

we’ve seen, and from the empirical evidence, as well as the underlying economics, would be that

default status generally will lead to some increase in usage.”).

       618.    Google’s employees recognize that default behavior influences some users and

brings more searches to Google. Pls. Ex. 290, Miller (Google) Dep., 76:24–77:24.

       619.    Prof. Murphy claims that, if rivals were preset as the search defaults on Android

devices, they would receive an additional             of the queries on those devices. Pls. Ex. 87,

Murphy (Def.’s Expert) Dep., 533:17–534:12; Pls. Ex. 301, Murphy (Def.’s Expert) Reply

Report, ¶¶ 20, 87, 226.

       620.




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       621.                                                  if Google were to lose the preset

search defaults on all U.S. Android devices, Google would lose between                         of all

U.S. search traffic. Pls. Ex. 22, Whinston (DOJ Pls.’ Expert) Initial Report, Fig. 160.

       622.    Google is a public company and pays                       pursuant to its RSAs to

secure search defaults on Android devices. Pls. Ex. 22, Whinston (DOJ Pls.’ Expert) Initial

Report, ¶ 718, Fig. 122.

       623.    Preset search defaults on desktops are easier to change than preset search defaults

on mobile devices due to the large screen sizes on desktops.




                                                               ;




       624.    Bing’s share of search traffic on Windows PCs (desktops and laptops), where it is

the default search service, is                        higher than its share on macOS devices

(desktops and laptops), where Google is the default. Pls. Ex. 22, Whinston (DOJ Pls.’ Expert)

Initial Report, Fig. 142; see also Pls. Ex. 266, Baker (Colo. Pls.’ Expert) Initial Report, ¶ 260 &

Table 22; Pls. Ex. 267, Baker (Colo. Pls.’ Expert) Reply Report, ¶ 117 & n.294.

       625.    The poor performance of the Internet Explorer browser likely contributed to a

higher rate of users switching to alternative browsers on Windows than on other platforms. Pls.

Ex. 22, Whinston (DOJ Pls.’ Expert) Initial Report, ¶¶ 459–462.




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          632.




          E.     Google’s Browser Distribution Agreements

          633.   Since the early 2000s, Google has entered into revenue share agreements with

third-party browser companies, such as Opera (2001), Mozilla (2004), and UCWeb (               ). Def.

Ex. 32, 2004 Mozilla Browser RSA (Nov. 8, 2004), MOZ-LIT-037219; Pls. Ex. 28, Baker

(Mozilla) Dep., 62:1–18; Pls. Ex. 226, Opera Press Release, “Opera and Google renew search

agreement” (Dec. 20, 2021) (“Opera has had a search distribution agreement with Google

(NASDAQ: GOOGL) since 2001.”);

                         ; see also Pls. Ex. 22, Whinston (DOJ Pls.’ Expert) Initial Report,

¶¶ 813–822 (cataloguing Google’s contracts with third-party browsers).

                 1.     Third-Party Browsers

          634.   As of December 2021, third-party browsers accounted for approximately 5% of

U.S. browser usage across all devices. Pls. Ex. 22, Whinston (DOJ Pls.’ Expert) Initial Report,

Fig. 6.

          635.   As of December 2021, Mozilla’s Firefox was the most popular third-party

browser. Pls. Ex. 22, Whinston (DOJ Pls.’ Expert) Initial Report, Fig. 6.

          636.   [Intentionally Left Blank]

          637.   [Intentionally Left Blank]


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       638.    [Intentionally Left Blank]

       639.    [Intentionally Left Blank]

       640.    [Intentionally Left Blank]

       641.    [Intentionally Left Blank]

       642.    Although third-party browsers account for only approximately 5% of U.S.

browser usage, they represent the largest distribution vehicle for general search engines, after

accounting for distribution channels controlled by Google, Apple, and Microsoft. Pls. Ex. 22,

Whinston (DOJ Pls.’ Expert) Initial Report, ¶¶ 739–744, Figs. 6, 134.

       643.    Searches on Mozilla’s Firefox browser are conducted almost entirely on

computers, rather than mobile devices. Pls. Ex. 22, Whinston (DOJ Pls.’ Expert) Initial Report,

¶ 865 n.1129; see also Pls. Ex. 28, Baker (Mozilla) Dep., 134:9–20.

       644.    Third-party browsers like Mozilla generally do not come preinstalled on devices

(which come with a different preinstalled browser out of the box). Pls. Ex. 28, Baker (Mozilla)

Dep., 136:11–15, 137:8–23; Pls. Ex. 182, Mozilla presentation: Protecting the Open Web:

Threats to Browser Competition (Dec. 18, 2019), MOZ-002390, at -403.

       645.    It is difficult for third-party browsers to compete with preinstalled browsers on

mobile devices because if third-party browsers are not preinstalled on a device out of the box,

users must find the browser, obtain it, and install it. Pls. Ex. 28, Baker (Mozilla) Dep., 139:20–

140:24.

               2.      Google’s RSAs With Third-Party Browsers

       646.    Google’s revenue share agreements with third-party browser companies guarantee

that Google will be the preset default search engine across all search access points on the

respective browser (namely the URL address bar), for nearly all instances when the browser is

installed by users on their devices.


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                                   ; see also Pls. Ex. 22, Whinston (DOJ Pls.’ Expert) Initial

Report, ¶¶ 815–822.

       647.




       648.




       649.




               3.     Google’s Payments To Third-Party Browsers

       650.    In 2020, Google paid third-party browser companies approximately

       pursuant to revenue share agreements concerning Google preset default search

placements on the counterparties’ browsers. Pls. Ex. 22, Whinston (DOJ Pls.’ Expert) Initial

Report, ¶ 718, Fig. 122.

       651.    Roughly       of Mozilla’s annual revenue comes from its revenue share

agreement with Google, in exchange for making Google the preset default search engine on

Firefox. Pls. Ex. 28, Baker (Mozilla) Dep., 41:18–24.


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Google presentation: Search Headwinds & Challenges (May 2015), GOOG-DOJ-13128963,

at -989.

       657.



                                                                             Def. Ex. 43, Mozilla

document: Project Waldo – Phase 1 Final Review (Mar. 2, 2022), MOZ-LIT-045096, at -102–

103; Pls. Ex. 22, Whinston (DOJ Pls.’ Expert) Initial Report, ¶¶ 875–876; Pls. Ex. 67, Murphy

(Def.’s Expert) Initial Report, ¶¶ 299–305.

       658.    The year after Mozilla switched the search default on Firefox from Google to

Yahoo in 2014, Google lost approximately        of the search traffic that it had previously

captured through the Firefox search default, which cost Google approximately                    in

search ad revenue. Pls. Ex. 168, Google presentation: UNTITLED (*Apr. 2019) (Assistant

conjoint analysis), GOOG-DOJ-02800065, at -071; Pls. Ex. 233, Google presentation:

Firefox/Yahoo (May 2015), GOOG-DOJ-04248388, at -389; Pls. Ex. 22, Whinston (DOJ Pls.’

Expert) Initial Report, ¶¶ 862–864, 869 & Figs. 145–147.

       659.    When Mozilla switched the search default on Firefox from Google to Yahoo in

2014, Mozilla made the change

                         Pls. Ex. 231, Mozilla presentation: Strategic Development: Search

Negotiations (Oct. 2014), MOZ-LIT-000903, at 5–6.

       660.    When Mozilla switched the search default on Firefox from Google to Yahoo in

2014, Mozilla believed that                                                                and

hoped to use this event as an                                                   Pls. Ex. 243,

Mozilla document: Mozilla Opening Mediation Brief in Yahoo v. Mozilla (July 17, 2019), MOZ-




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LIT-000296, at -302; Pls. Ex. 231, Mozilla presentation: Strategic Development: Search

Negotiations (Oct. 2014), MOZ-LIT-000903, at 6.

       661.     Sometime after switching the search default on Firefox from Google to Yahoo in

2014, Mozilla ceased to view Yahoo as a viable search default for Firefox and switched that

default back to Google. Pls. Ex. 28, Baker (Mozilla) Dep., 81:6–22, 271:8–272:2; see also id. at

224:23–225:4.




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